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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                              Plaintiffs,          Case No. 1:20-cv-03010-APM

 v.
                                                   HON. AMIT P. MEHTA
 GOOGLE LLC,

                              Defendant.


               [PROPOSED] ORDER DENYING DOJ PLAINTIFFS’
           MOTION TO ALLOW A DIVIDED EXAMINATION OF DR. FOX

       Upon consideration of DOJ Plaintiffs’ Expedited Motion to Permit Two Attorneys for

U.S. Plaintiffs to Examine Edward A. Fox and Memorandum in Support Thereof (ECF No. 404)

(the “Motion”), as well as Google’s Opposition to DOJ Plaintiffs’ Motion to Allow a Divided

Examination of Dr. Fox, the Motion is hereby DENIED.




 Dated: November ____, 2022                          _____________________________
                                                            Hon. Amit P. Mehta
                                                      United States District Court Judge
